             Case 1:20-cv-03005-JPC Document 31 Filed 11/04/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------x
MICHAEL NAGLE,                                                 :
                                                               :
                         Plaintiff,                            :   20-CV-3005 (JPC) (OTW)
                                                               :
                      -against-                                :   ORDER
                                                               :
GRACENOTE DIGITAL VENTURES, LLC,
                                                               :
                         Defendant.                            :
                                                               :
                                                               :
-------------------------------------------------------------x

         ONA T. WANG, United States Magistrate Judge:

         Defendant’s motion to compel certain discovery in aid of settlement is GRANTED. By

November 25, 2020, Plaintiff is directed to provide Defendant with:

         (1) The certificate of registration for the photograph at issue;

         (2) Evidence establishing that the photograph was registered prior to the filing of the

              complaint;

         (3) Evidence establishing that the photograph was the subject of the group registration

              referenced in the complaint; and

         (4) Evidence, if any, refuting Plaintiff’s apparent assignment of the photograph to the LA

              Times.

Failure to comply with this order will result in a report to the District Judge that continuing

settlement discussions will be a waste of judicial resources at this time.

         The Court will hold a follow-up telephonic pre-settlement call on December 2, 2020 at

4:00 p.m. The dial-in information is as follows:
          Case 1:20-cv-03005-JPC Document 31 Filed 11/04/20 Page 2 of 2




      •    Telephone Number: 866-390-1828

      •    Access Code: 1582687

      The Clerk is respectfully directed to close ECF 20.



      SO ORDERED.



                                                          s/ Ona T. Wang
Dated: November 4, 2020                                 Ona T. Wang
       New York, New York                               United States Magistrate Judge
